                     UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
                         v.                  )
                                             )                3:12-CR-239
STEVEN JONES (7),                            )
                                             )
                              Defendant.     )

                                         ORDER

        THIS MATTER is before the Court on Defendant’s Motion for Acquittal (Doc.

No. 634) and Motion for New Trial (Doc. No. 635). In those motions, Defendant

requests acquittal and a new trial, but also requests that the Court enlarge the time for

filing supplemental briefs in support of his motions to allow for the preparation of trial

transcripts. On that limited basis, his motions are GRANTED in part. The Court will

extend the time in which Defendant may file supplemental briefs in support of his

motions, should he choose to file such briefs, until he has had an opportunity to review

the trial transcripts.

        IT IS THEREFORE ORDERED that Defendant’s motions are GRANTED in

part. Defendant shall have additional time to file supplemental briefs in support of his

motions to allow for review of the trial transcripts. The Court will hold those motions in

abeyance until it has an opportunity to consider Defendant’s supplemental briefs and the

Government’s responses.

        IT IS FURTHER ORDERED that counsel for Defendant shall notify the Court

once the transcripts are completed and suggest a timeframe for the filing of his

supplemental briefs, should he choose to file such briefs.




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SO ORDERED.

 Signed: February 9, 2015




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